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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 19-20566-CR-MARTINEZ
UNITED STATES OF AMERICA
vs.
CHRISTOPHER DANIEL STINES,

Defendant.
/

 

PLEA AGREEMENT

The United States Attorney’s Office for the Southern District of Florida (“this Office”) and
Christopher Daniel Stines (hereinafter referred to as the “defendant’”) enter into the following
agreement:

1. The defendant agrees to plead guilty to Count 1 of the indictment, which count charges
the defendant with Smuggling Goods Outside of the United States in violation of Title 18, United
States Code, Section 554(a).

.2. This Office agrees to seek dismissal of Count 2 of the indictment, as to this defendant,
after sentencing.

3, The defendant is aware that the sentence will be imposed by the Court after considering
the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter “Sentencing
Guidelines”). The defendant acknowledges and understands that the Court will compute an
advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be
determined by the Court relying in part on the results ofa pre-sentence investigation by the Court’s

probation office, which investigation will commence after the guilty plea has been entered. The
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defendant is also aware that, under certain circumstances, the Court may depart from the advisory
sentencing guideline range that it has computed, and may raise or lower that advisory sentence
under the Sentencing Guidelines. The defendant is further aware and understands that the Court
is required to consider the advisory guideline range determined under the Sentencing Guidelines,
but is not bound to impose a sentence within that advisory range; the Court is permitted to tailor

the ultimate sentence in light of other statutory concerns, and such sentence may be either more
severe or less severe than the Sentencing Guidelines’ advisory range. Knowing these facts, the
defendant understands and acknowledges that the Court has the authority to impose any sentence
within and up to the statutory maximum authorized by law for the offense identified in paragraph
1 and that the defendant may not withdraw the plea solely as a result of the sentence imposed.

4. The defendant also understands and acknowledges that the Court may impose a
statutory maximum term of imprisonment of up to ten (10) years, followed by a term of supervised
release of up to three (3) years. In addition to a term of imprisonment and supervised release, the
Court may impose a fine of up to $250,000.00 and may order forfeiture and restitution.

5. The defendant further understands and acknowledges that, in addition to any sentence
imposed under paragraph 4 of this agreement, a special assessment in the amount of $100.00 will
be imposed on the defendant. The defendant agrees that any special assessment imposed shall be
paid at the time of sentencing. If a defendant is financially unable to pay the special assessment,
the defendant agrees to present evidence to this Office and the Court at the time of sentencing as
to the reasons for the defendant’s failure to pay. °

6. This Office reserves the right to inform the Court and the probation office of all facts

pertinent to the sentencing process, including all relevant information concerning the offenses
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committed, whether charged or not, as well as concerning the defendant and the defendant’s
background. Subject only to the express terms of any agreed-upon sentencing recommendations
contained in this agreement, this Office further reserves the right to make any recommendation as
to the quality and quantity of punishment.

7. This Office agrees that it will recommend at sentencing that the Court reduce by two:
levels the sentencing guideline level applicable to the defendant’s offense, pursuant to Section
3E1.1(a) of the Sentencing Guidelines, based upon the defendant’s recognition and affirmative
and timely acceptance of personal responsibility. If at the time of sentencing the defendant’s
offense level is determined to be 16 or greater, this Office will file a motion requesting an
additional one level decrease pursuant to Section 3E1.1(b) of the Sentencing Guidelines, stating
that the defendant has assisted authorities in the investigation or prosecution of the defendant’s
own misconduct by timely notifying authorities of the defendant’s intention to enter a plea of
guilty, thereby permitting the government. to avoid preparing for trial and permitting the
government and the Court to allocate their resources efficiently. This Office, however, will not
be required to make this motion if the defendant: (1) fails or refuses to make a full, accurate and
complete disclosure to the probation office of the circumstances surrounding the relevant offense
conduct; (2) is found to have misrepresented facts to the government prior to entering into this plea
agreement; or (3) commits any misconduct after entering into this plea agreement, including but
not limited to committing a state or federal offense, violating any term of release, or making false
statements or misrepresentations to any governmental entity or official.

8. The defendant is aware that the sentence has not yet been determined by the Court.

The defendant also is aware that any estimate of the probable sentencing range or sentence that the
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defendant may receive, whether that estimate comes from the defendant’s attorney, this Office, or
the probation office, is a prediction, not a promise, and is not binding on this Office, the probation
office or the Court. The defendant understands and acknowledges, as previously acknowledged

. in paragraph 3 above, that the defendant may not withdraw his/her plea based upon the Court’s
decision not to accept a sentencing recommendation made by the defendant, this Office, or a
recommendation made jointly by the defendant and this Office.

9. The defendant knowingly and voluntarily admits that the following personal property
constitutes or is derived from proceeds traceable to the violation to which he agrees to plead guilty
herein, and is therefore subject to criminal forfeiture pursuant to Title 18, United States Code,
Section 981(a)(1):

(a) Eight (8) AR-15 triggers;

(b) Five (5) AR-15 selector switches;

(c) Three (3) AR-15 hammers;

(d) Two (2) AR-15 disconnectors;

(e) Three (3) AR-15 hammer and trigger pins; and

: (f) Two (2) AR-15S trigger guards. |

(collectively referred to hereinafter as the “Personal Property”).

10. The defendant knowingly and voluntarily agrees to waive his right to a hearing,
pursuant to Fed. R. Crim. P. 32.2(b)(1)(A), to determine the requisite nexus between the Personal
Property and violation to which he agrees to plead guilty herein. Furthermore, the defendant
knowingly and voluntarily agrees that he shall not, in any manner, act in opposition to the United

States in seeking forfeiture of the Personal Property.
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11. The defendant knowingly and voluntarily agrees to waive the following rights with

respect to the forfeiture of the Personal Property:

(a) All constitutional, legal, and equitable defenses to such forfeiture;

(b) Any constitutional or statutory double jeopardy defense or claim regarding
such forfeiture;

(c) Any claim or defense to such forfeiture brought or raised under the Eighth
Amendment to the United States Constitution, including, but not limited to, any claim or defense
of excessive fine; and

(d) Any right he may have to an appeal of any resulting order of forfeiture
regarding the Personal Property.

12. The defendant recognizes that pleading guilty may have consequences with respect to
the defendant’s immigration status.if the defendant is not a citizen of the United States. Under
federal law, a broad range of crimes are removable offenses, including the offense to which the
defendant is pleading guilty. Removal and other immigration consequences are the subject of a
separate proceeding, however, and defendant understands that no one, including the defendant’s
attorney or the Court, can predict to a certainty the effect of the defendant’s conviction on the
defendant’s immigration status. The defendant nevertheless affirms that the defendant wants to
plead guilty regardless of any immigration consequences that the defendant’s plea may entail, even

if the consequence is the defendant’s automatic removal from the United States.
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13. Thisis the entire agreement and understanding between this Office and the defendant.

There are no other agreements, promises, representations, or understandings.

Date: ~\Q- 2 2 By:

ARIANA FAJARDO ORSHAN

UNITED STATES ATTORNEY
: A L

ELIS. RUBIN
ASSISTANT UNITED STATES ATTORNEY

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ANDELL K. BROWN
ATTORNEY FOR DEFENDANT

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CHRISTOPHER DANIEL STINES
DEFENDANT

  
